AO 94 (Rev. 06/09) Commitment to Another District


                                                    UNITED STATES DISTRICT COURT
                                                        Western District of North Carolina
                                                                        )
                  UNITED STATES OF AMERICA                              ) Case No: 3:19−mj−00140−DCK
                                                                        )
                                        V.
                                                                        )   Charging District's
                              Waqar Ul−Hassan                           )   Case No: 1:19MJ50
                                    Defendant                           )
                                                                        )

                                                    COMMITMENT TO ANOTHER DISTRICT

           The defendant has been ordered to appear in the Western District of Virginia ,
     (if applicable)                            division. The defendant may need an interpreter for this language:
                                   .

           The defendant:               will retain an attorney.
                                        is requesting court−appointed counsel.

           The defendant remains in custody after the initial appearance.

           IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order, to
     the charging district and deliver the defendant to the United States marshal for that district, or to another officer
     authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
     United States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may
     be promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging
     district.



     Date:       May 1, 2019




                            Case 3:19-mj-00140-DCK Document 4 Filed 05/01/19 Page 1 of 1
